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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                           §
In re:                     §                                  Chapter 11
                           §
STEWARD HEALTH CARE SYSTEM §                                  Case No. 24-90213 (CML)
LLC, et al.,               §
                           §                                  (Jointly Administered)
             Debtors. 1    §

          EMERGENCY MOTION OF DEBTORS REQUESTING ENTRY
         OF INTERIM AND FINAL ORDERS (I) APPROVING (A) GLOBAL
      SETTLEMENT WITH MEDICAL PROPERTIES TRUST AND (B) INTERIM
      MANAGEMENT PROCEDURES, AND (II) GRANTING RELATED RELIEF

    EMERGENCY RELIEF HAS BEEN REQUESTED. INTERIM RELIEF IS REQUESTED NOT LATER
    THAN SEPTEMBER 10, 2024. FINAL RELIEF WILL BE REQUESTED AT A HEARING TO BE
    SCHEDULED.

    IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT EMERGENCY
    CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT THE HEARING IF ONE IS SET,
    OR FILE A WRITTEN RESPONSE PRIOR TO THE DATE THAT RELIEF IS REQUESTED IN THE
    PRECEDING PARAGRAPH. OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
    UNOPPOSED AND GRANT THE RELIEF REQUESTED.

    AN INTERIM HEARING BE CONDUCTED ON THIS MATTER ON SEPTEMBER 10, 2024 AT 1:30 P.M.
    (CENTRAL TIME) IN COURTROOM 401, 4TH FLOOR, 515 RUSK AVENUE, HOUSTON, TX 77002.

    YOU MAY PARTICIPATE IN THE HEARING EITHER IN PERSON OR BY AN AUDIO AND VIDEO
    CONNECTION. AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN
    FACILITY. YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE CONNECTED, YOU WILL
    BE ASKED TO ENTER THE CONFERENCE ROOM NUMBER. JUDGE LOPEZ’S CONFERENCE
    ROOM NUMBER IS 590153. VIDEO COMMUNICATION WILL BE BY USE OF THE GOTOMEETING
    PLATFORM. CONNECT VIA THE FREE GOTOMEETING APPLICATION OR CLICK THE LINK ON
    JUDGE LOPEZ’S HOME PAGE. THE MEETING CODE IS “JUDGELOPEZ.” CLICK THE SETTINGS
    ICON IN THE UPPER RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
    INFORMATION SETTING.

    HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF BOTH
    ELECTRONIC AND IN-PERSON HEARINGS. TO MAKE YOUR APPEARANCE, CLICK THE
    “ELECTRONIC APPEARANCE” LINK ON JUDGE LOPEZ’S HOME PAGE. SELECT THE CASE
    NAME, COMPLETE THE REQUIRED FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR
    APPEARANCE.




1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these chapter
    11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
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                 Steward Health Care System LLC and its debtor affiliates, as debtors and debtors

in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):

                                          Preliminary Statement

                 1.      By this Motion, the Debtors request interim and final approval of a global

settlement (the “Global Settlement”) with Medical Properties Trust, Inc. (together with its

affiliates, “MPT”) (each of the Debtors and MPT, a “Party” and collectively, the “Settlement

Parties”). 2

                 2.      Following intense and good-faith negotiations over several months in

mediation overseen by the Honorable Marvin Isgur, the Debtors and MPT are finalizing an

agreement on the terms of the Global Settlement, with near-final terms between the parties set

forth on the term sheet attached as Exhibit A (the “Settlement Term Sheet”). 3 The Global

Settlement resolves numerous disputes amongst the Settlement Parties, including regarding the

disposition and allocation of value of the Debtors’ hospitals in Pennsylvania, Ohio, Louisiana,

Arkansas, Arizona, Texas, and Florida (the “Master Lease I Hospitals”) and the Creditors’

Committee’s Challenges (as such term is defined in the MPT DIP Order).

                 3.      The Debtors are pleased to report that the Global Settlement, if approved,

provides (i) a path to keep nearly all of the Master Lease I Hospitals open for the benefit of the

Debtors’ patients, communities, and workforce of approximately 10,250, (ii) the Debtors with


2
    The Debtors and MPT are in active discussions with the official committee of unsecured creditors
    (the “Creditors’ Committee”), the FILO Secured Parties, and the ABL Lenders (collectively with the FILO
    Secured Parties, the “Lenders”) regarding their support for the Global Settlement.
3
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Settlement
    Term Sheet. As noted, the Settlement Term Sheet remains subject to continued negotiation, and the Debtors are
    working hard to finalize the Settlement Term Sheet with MPT, as well as finalize the support of the Creditors’
    Committee and Lenders.

                                                        2
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$395 million in net sale proceeds from the consummation of the sale of the Space Coast Hospitals, 4

(iii) for MPT’s commitment to facilitate the transition and sale of all of the remaining open Master

Lease I Hospitals, including the Debtors’ hospitals in Ohio that were at risk of imminent closure

(collectively, the “Specified MLI Hospitals”) 5 with funding support from MPT and new interim

managers, (iv) that MPT waive all of its claims against and interests in the Debtors (including

billions of dollars of lease and debt claims), including temporarily waiving all rent and other

current rent obligations to MPT (which shall be released on the Settlement Effective Date), and

(v) the Debtors with access to sufficient funding and sale proceeds necessary to stabilize these

chapter 11 cases and allow the Debtors to prosecute a value maximizing chapter 11 plan.

                4.       As the Court is aware, the Debtors’ sales process has been complicated by

the fact that, although the Debtors own the licenses to operate their hospitals as well as all related

operating assets, including equipment, inventory, contracts, and accounts, all but one of the

Debtors’ hospitals are subject to master leases with MPT (i.e., “Master Lease I” 6 and “Master

Lease II” 7). As outlined in the Mediation Motion (as defined below) and prior briefing, the Debtors

and MPT have a number of disputes, including the appropriate allocation of value between the

Debtors’ hospital operations and real property purportedly owned by MPT and the proper

framework for allocating sale proceeds (the “Allocation Dispute”), the process for soliciting bids

and negotiating sale transactions with buyers, and how to resolve potential challenges the


4
    “Space Coast Hospitals” means the Melbourne Regional Medical Center, the Rockledge Regional Medical
    Center, and the Sebastian River Medical Center.
5
    The Specified MLI Hospitals excludes Sharon Regional Medical Center in Sharon, Pennsylvania, which the
    Commonwealth of Pennsylvania has agreed to fund, and St. Luke’s Behavioral Facility in Arizona
    (the “Behavioral Facility”).
6
    “Master Lease I” means that certain Second Amended and Restated Master Lease Agreement, dated as of March
    14, 2022, as amended and/or restated.
7
    “Master Lease II” means that certain Master Lease Agreement, dated as of March 14, 2022, as amended and/or
    restated.

                                                      3
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Creditors’ Committee may have with respect to (i) the Master Leases, including relating to

recharacterization of such leases as financings, (ii) MPT’s claims against the estates, and

(iii) potential causes of action the estates could bring against MPT arising from various

postpetition conduct. These disputes have challenged the Debtors’ ability to ultimately finalize

and consummate the sale of hospitals.

                 5.       Moreover, absent a global deal with MPT, the Debtors do not have the

liquidity to continue funding the Debtors’ sale process and operating the Debtors’ hospitals, many

of which are incurring losses. Both MPT and the Lenders have made it clear that they are not

willing to provide any additional financing without a resolution to the allocation issue and a clear

path towards a resolution of these chapter 11 cases. Therefore, absent a consensual resolution with

MPT, the estates’ only alternative is to pursue litigation against MPT, a path that would be costly,

have no guarantee of success, and come with substantial risks to the Debtors’ ability to negotiate

and consummate sales of the Debtors’ hospitals for the benefit of the Debtors’ estates, their

employees and patients.

                 6.       Fortunately, as a result of the Settlement Parties’ extensive negotiations

overseen by the Judge Isgur over countless mediation sessions over the past several months, and

subject to finalizing the documentation, the parties have reached the Global Settlement on the

following key terms (as more fully set forth in the Settlement Term Sheet): 8

                 •        MPT shall designate an interim manager for each Specified MLI Hospital
                          (each, an “Interim Manager”), who shall agree to be bound by interim
                          management procedures set forth in the Interim Proposed Order and manage
                          the applicable Specified MLI Hospital until it is transferred or conveyed to



8
    The following summary of the terms of the Settlement Term Sheet is subject entirely to the express terms of the
    Settlement Term Sheet. If there are any inconsistencies between the summary below and the Settlement Term
    Sheet, then the Settlement Term Sheet shall control.

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                            a Designated Operator (as defined below), which may be the same party as
                            the Interim Manager; 9

                  •         all of the Specified MLI Hospitals will be conveyed or otherwise transferred
                            to an operator (“Designated Operators”) designated by MPT (the “MLI
                            Hospital Sale”), and the Debtors and MPT will use commercially
                            reasonably efforts to implement the MLI Hospital Sale by October 1, 2024,
                            and parties in interest will receive notice of the proposed transfers or
                            conveyances and will have an opportunity to object thereto;

                  •         effective as of September 11, 2024 (the “Funding Commencement
                            Time”), the Interim Managers will assume responsibility for the costs of
                            operating the Specified MLI Hospitals on the terms outlined in the
                            Settlement Term Sheet 10 with MPT agreeing to fund certain initial expenses
                            (including payroll); 11

                  •         upon entry of the MPT Settlement Order, the Debtors shall not be required
                            to pay any rent or other obligations under Master Lease I and Master
                            Lease II;

                  •         no later than October 31, 2024, the real property underlying the Space Coast
                            Hospitals shall be deemed transferred or conveyed to the Debtors and upon
                            consummation of the sale of the Space Coast Hospitals to Orlando Health,
                            the Debtors and their estates will retain $395 million of the net sale
                            proceeds, with the balance paid to MPT;

                  •         all of MPT’s claims against the Debtors’ estates (up to approximately $7.5
                            billion in the aggregate, consisting of approximately $83.4 million in MPT
                            DIP Claims, $448.1 million in MPT Prepetition Secured Claims, $403.4
                            million in MPT HoldCo Claims, and $6.6 billion in future lease
                            obligations), will be waived;

                  •         on the Settlement Effective Date, (a) MPT shall be deemed to release and
                            discharge any and all claims they may have against the Debtors, the ABL
                            Lenders, the FILO Secured Parties, and the Creditors’ Committee and
                            (b) the Debtors, the ABL Lenders, the FILO Secured Parties, and the

9
     As of the time of filing this Motion, MPT is still finalizing the selection of the Interim Managers.
10
     Each Interim Manager will also be the beneficiary of any receivables generated by the applicable Specified MLI
     Hospital for services provided to patients after the Funding Commencement Time.
11
     The Debtors are in discussions with MPT and the proposed Interim Managers regarding the timing of providing
     initial funding (i.e., upon entry of the Proposed Interim Order or upon entry of an order granting the relief in the
     Motion on a final basis). As of the filing this Motion, MPT and the proposed Interim Managers have not
     committed to provide funding upon entry of a Proposed Interim Order.

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                      Creditors’ Committee shall be deemed to release and discharge any and all
                      claims they may have against MPT.

               7.     In addition to receiving $395 million in net sale proceeds from the sale of

the Space Coast Hospitals, the Debtors will retain all accounts receivables that will have accrued

on or before September 10, 2024 related to the MLI Hospitals (which were over $500 million as

of July 31, 2024).

               8.     As further discussed below, entry into and implementation of the Global

Settlement is in the best interests of the Debtors and their estates and satisfies the requirements

under Bankruptcy Rule 9019 and section 363 of the Bankruptcy Code. Here, the agreement in

principle underlying the Global Settlement provides substantial benefits to the Debtors and their

estates, including (i) $395 million in proceeds from the sale of the Space Coast Hospitals,

(ii) significant cost savings in operating expenses that the Debtors would otherwise continue to

incur, as well as MPT waiving all rent, (iii) the waiver and release of all of MPT’s up to

approximately $7.5 billion of claims against the Debtors’ estates, and (iv) avoiding substantial

costs and risks associated with pursuing litigation against MPT, without any guarantee of success.

               9.     Here, beyond the release of MPT, the only cost to the estate is the transfer

or conveyance of the Debtors’ interests in the Specified MLI Hospitals, many of which are

operating at loss, for which the Debtors have had challenges monetizing such assets absent a

consensual resolution with MPT in connection with its related real property interests. Accordingly,

the benefits received by the Debtors and their estates pursuant to the Global Settlement are

extensive and well above the lowest point in the range of reasonable litigation outcomes.

               10.    Moreover, the Global Settlement allows for the Specified MLI Hospitals to

remain open, and together with the sale of the Debtors’ hospitals in Massachusetts and the funding

anticipated from the Commonwealth of Pennsylvania, gives the Debtors the opportunity to save

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up to approximately 30,000 jobs, and paves the way for the Debtors to negotiate and implement a

value maximizing chapter 11 plan.

               11.     Therefore, in light of these considerable benefits to the Debtors’ estates, the

Global Settlement should be approved.

                                         Relief Requested

               12.     By this Motion, pursuant to sections 363(b), 554, and 105 of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 9013 of the Bankruptcy Local Rules for the United

States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), the

Debtors request entry of an order (i) approving the Debtors’ entry into and consummation of the

Global Settlement, (ii) authorizing the Debtors’ transfer or conveyance free and clear of certain

liens, claims, and encumbrances or abandonment of the Specified MLI Hospitals to MPT or its

Designated Operator, and (iii) granting related relief.

               13.     A proposed interim order granting the relief requested herein is attached

hereto as Exhibit B (the “Proposed Interim Order”). The Debtors will schedule a hearing to

consider the Motion on a final basis and intend to file a proposed final order.

               14.     In support of the Motion, the Debtors submit the Declaration of John R.

Castellano in Support of Emergency Motion of Debtors Requesting Entry of Interim and Final

Order (I) Approving (A) Global Settlement with Medical Properties Trust and (B) Interim

Management Procedures, and (II) Granting Related Relief (the “Castellano Declaration”), filed

contemporaneously herewith.




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                                                Background

          A.     Debtors’ Chapter 11 Cases

                 15.      On May 6, 2024, (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized

to continue to operate their business and manage their properties as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.

                 16.      On May 16, 2024, the U.S. Trustee for Region 7 (the “U.S. Trustee”)

appointed the Creditors’ Committee. No trustee or examiner has been appointed in these chapter

11 cases.

                 17.      The Debtors’ chapter 11 cases are being jointly administered for procedural

purposes only pursuant to Bankruptcy Rule 1015(b) and Bankruptcy Local Rule 1015-1.

          B.     Master Leases

                 18.      Certain of the Debtors lease, as tenants, thirty (30) 12 hospital facilities from

affiliates of MPT pursuant to Master Lease I and Master Lease II. On July 31, 2024, the Court

entered an order authorizing the rejection of Master Lease II (Docket No. 1782), subject to further

briefing on the effect of such rejection and the effective date thereof. On August 16, 2024, the

Debtors filed a motion to reject Master Lease I (Docket No. 2026) (together with Docket No. 1782,

the “Master Lease Rejections”), which remains pending with the Court as of the date hereof. The

Debtors conduct substantially all of their hospital operations on the properties subject to the Master

Leases.




12
     This includes Carney Hospital and Nashoba Valley Medical Center, each of which are located in Massachusetts
     and have been closed.

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         C.       Debtors’ Sale Process

                  19.      On June 3, 2024, the Court entered the Bidding Procedures Order 13

approving, among other things, the Global Bidding Procedures to govern the sale and auction of

the Debtors’ assets, including the Debtors’ hospitals. The Global Bidding Procedures provide the

Debtors with flexibility to solicit proposals, negotiate transactions, hold auctions, and consummate

sale transactions for the highest or otherwise best value, all while protecting the due process rights

of parties-in-interest in these chapter 11 cases and ensuring a full and fair opportunity to review

and consider all potential transactions.

                  20.      Pursuant to the Global Bidding Procedures, the Debtors promptly

established consecutive bid deadlines for hospitals in various geographic locations, including in

Arkansas, Louisiana, Ohio, Pennsylvania, Arizona, Massachusetts, Texas, and Florida.

                  21.      The Debtors’ sale and marketing process has been successful, in that it has

culminated in the approval of the sale of Stewardship Health, 14 the Debtors’ highly-valued

managed-care business for an aggregate purchase price of $245 million, and the designation of

Orlando Health as the successful bidder for the Space Coast Hospitals for a purchase price of $460

million (based on a $439 million headline cash purchase price plus adjustments for certain working

capital items, and assuming certain JV interests are acquired at closing), 15 as well as executed asset




13
     Order (I) Approving (A) Global Bidding Procedures for Sales of the Debtors’ Assets, (B) Form and Manner of
     Notice of Sales, Auctions, and Sale Hearings, and (C) Assumption and Assignment Procedures and Form and
     Manner of Notice of Assumption and Assignment; (II) Authorizing Designation of Stalking Horse Bidders; (III)
     Scheduling Auctions and Sale Hearings; and (IV) Granting Related Relief (Docket No. 626) (the “Bidding
     Procedures Order” and the global bidding procedures attached thereto as Exhibit 1, the “Global Bidding
     Procedures”).
14
     Order (I) Authorizing and Approving (A) the Asset Purchase Agreement with Brady Health Buyer, LLC (B) the
     Sale of Stewardship Health Assets Free and Clear of Liens and Liabilities and (C) the Assumption and Assignment
     of Certain Executory Contracts and Unexpired Leases and (II) Granting Related Relief (Docket No. 2135).
15
     See Notice of Successful Space Coast Bidder.

                                                         9
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purchase agreements for other hospitals subject to Master Lease I, including in Louisiana and

Arkansas. 16 In parallel, the Debtors have signed and obtained Court approval of purchase

agreements for the sales of six of the Debtors’ hospitals in Massachusetts. 17

                  22.     Unfortunately, the sales process for certain of the Debtors’ hospitals were

unable to proceed as expeditiously as desired as the Debtors were faced with issues relating to

allocation of value between the Debtors and MPT, among other disputes.

         D.       Allocation Dispute and Mediation

                  23.     A major impediment to the sale of certain of the Debtors’ hospitals has been

the disagreement between the Debtors and MPT regarding allocation of value as between the

Debtors’ hospital operations and MPT’s real property. The Debtors sought, 18 and the Court

entered, 19 an order directing the Debtors, MPT, and certain other of the Debtors’ creditors to

commence mediation with the Honorable Marvin Isgur in an effort to resolve the allocation issues

consensually for the benefit of all parties in interest.

                  24.     The Debtors and MPT were unable to agree upon—and instead actively

disputed—the proper and appropriate allocation of value as between the real property and hospital




16
     See Notice of (I) Cancellation of Certain Auctions and Sale Hearings, (II) Designation of Successful Bids,
     (III) Proposed Sale Orders, and (IV) Scheduling of Sale Hearing With Respect to (A) Wadley Regional Medical
     Center at Hope and (B) Glenwood Regional Medical Center (Docket No. 1645).
17
     See Notice of (I) Designation of Successful Bids; (II) Proposed Sale Orders; (III) Scheduling of Sale Hearing
     With Respect to (A) Holy Family Methuen Hospital, (B) Holy Family Haverhill Hospital, (C) Saint Anne’s
     Hospital, and (D) Morton Hospital; and (IV) Reservation of Rights to Seek Approval of Sale of St. Elizabeth’s
     Medical Center and Good Samaritan Medical Center at Sale Hearing (Docket No. 2242); Notice of Designation
     of Successful Bid and Proposed Sale Order for St. Elizabeth’s Medical Center and Good Samaritan Medical
     Center (Docket No. 2260).
18
     See Emergency Motion of Debtors Requesting Entry of an Order Directing Mediation of Disputes Relating to
     Allocation of Sale Proceeds and Related Issues with Medical Properties Trust (Docket No. 776) (the “Mediation
     Motion”).
19
     See Order Regarding Mediation of Disputes Relating to Allocation of Sale Proceeds and Related Issues with
     Medical Properties Trust (Docket No. 829).

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operations with respect to the hospitals for which bids have been received, almost without

exception.

                 25.     On August 16, 2024, the Debtors filed a motion to reject Master Lease I

and, on August 19, 2024, the Debtors commenced an adversary proceeding against MPT seeking

a declaratory judgment allocating the amount of value attributable to the Debtors’ hospital

operations, on one hand, and MPT’s real estate, on the other (the “Adversary Proceeding”). 20

The Adversary Proceeding has not advanced beyond the filing of the complaint.

         E.      Additional Claims Against MPT

                 26.     The Creditors’ Committee also investigated, and believes that the Debtors’

estates have colorable claims against MPT, including, but not limited, to (i) recharacterize the

Master Leases as “disguised financings,” (ii) avoid certain liens and preferential payments granted

or made to MPT prior to the Petition Date, and (iii) equitably subordinate MPT’s claims arising

from prepetition conduct. The Debtors understand that the Creditors’ Committee believes it has a

strong basis to assert such claims on behalf of the Debtors’ estates based on its ongoing

investigation. The Debtors also reserved their rights with respect to potential claims and causes

of action against MPT.

         F.      Mediation of Disputes & Entry into Global Settlement

                 27.     After extensive arm’s-length negotiations, the parties were able to reach an

agreement as to the principal terms of the Global Settlement, as set forth in the Settlement Term

Sheet.




20
     See Adversary Complaint (Docket No. 2031).

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                                           Jurisdiction

                28.     The Court has jurisdiction to consider this matter pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                               Relief Requested Should Be Granted

                29.     By this Motion, the Debtors seek the Court’s approval of (i) the Debtors’

entry into and consummation of the Global Settlement pursuant to Rule 9019 of the Bankruptcy

Rules, (ii) the transfer or conveyance of the Debtors’ interests in the Specified MLI Hospitals to

MPT or its Designated Operator pursuant to section 363(b) and/or section 554 of the Bankruptcy

Code, and (iii) other related relief.

        A.      The Global Settlement is Fair, Reasonable, and in the Best Interests of the
                Debtors’ Estates

                30.     Bankruptcy Rule 9019(a) provides that “[o]n motion by the [debtors in

possession] and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a). Further, pursuant to Bankruptcy Rule 9019(a), a bankruptcy court may

approve a compromise or settlement so long as the proposed settlement is fair, reasonable, and in

the best interests of the estate. See In re Age Refin. Inc., 801 F.3d 530, 540 (5th Cir. 2015).

Ultimately, “approval of a compromise is within the discretion of the bankruptcy court.” See U.S.

v. AWECO, Inc. (In re AWECO, Inc.), 725 F.2d 293, 297 (5th Cir. 1984). Settlements are

considered a “normal part of the process of reorganization” and “a desirable and wise method[] of

bringing to a close proceedings otherwise lengthy, complicated, and costly.” Rivercity v. Herpel

(In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980) (citations omitted) (decided under

the Bankruptcy Act).




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               31.     The Fifth Circuit sets forth a three-factor balancing test under which

bankruptcy courts are to analyze proposed settlements. Id. The factors the Court considers are:

“(1) the probability of success in litigating the claim subject to settlement, with due consideration

for the uncertainty in fact and law; (2) the complexity and likely duration of litigation and any

attendant expense, inconvenience, and delay, and (3) all other factors bearing on the wisdom of

the compromise.” See Age Refin. Inc., 801 F.3d at 540 (internal citations omitted).

               32.     Under the rubric of the third factor referenced above, the Fifth Circuit has

specified two additional factors that bear on the decision to approve a proposed settlement.

First, the court should consider “the paramount interest of creditors with proper deference to their

reasonable views.” Id., Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortg.

Corp.), 68 F.3d 914, 917 (5th Cir. 1995). Second, the court should consider the “extent to which

the settlement is truly the product of arms-length bargaining, and not of fraud or collusion.” Age

Ref. Inc., 801 F.3d at 540 (citations omitted); Foster Mortg. Corp., 68 F.3d at 918.

               33.     Generally, the role of the bankruptcy court is not to decide the issues in

dispute when evaluating a settlement. Watts v. Williams, 154 B.R. 56, 59 (S.D. Tex. 1993).

Instead, the court should determine whether the settlement as a whole is fair and equitable.

Protective Comm. for Indep. S’holders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424

(1968).

               34.     The Debtors bear the burden of establishing that the balance of the above

factors leads to a fair and equitable compromise vis-à-vis the Global Settlement. In re Allied

Props., LLC, 2007 WL 1849017, at *4 (Bankr. S.D. Tex. June 25, 2007) (citing In re Lawrence &

Erausquin, Inc., 124 B.R. 37, 38 (Bankr. N.D. Ohio 1990)); see also In re GHR Cos., Inc., 50 B.R.

925, 931 (Bankr. D. Mass. 1985). “The burden is not high”; rather, the Debtors “need only show


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that [their] decision falls within the ‘range of reasonable litigation alternatives.’” In re Allied

Props., LLC, 2007 WL 1849017, at *4 (emphasis added) (citing In re W.T. Grant Co., 699 F.2d

599, 608 (2d Cir. 1983)); see also Cook v. Waldron, 2006 WL 1007489 at *4 (S.D. Tex. Apr. 18,

2006).

               35.     Here, weighing the foregoing factors demonstrates that the Global

Settlement is reasonable and supports finding that the Debtors’ entry into the Global Settlement is

in the best interest of creditors and other stakeholders.

               36.     First, the Debtors believe that the likelihood of success of litigating against

MPT all of the issues and disputes underlying the Adversary Proceeding, the Master Lease

Rejections, the claims that are subject of the Creditors’ Committee’s investigation, and other

potential claims and causes of action against MPT is uncertain. Specifically, although the Debtors

believe that they have strong arguments that could result in the Debtors prevailing in the Adversary

Proceeding and on the Master Lease Rejections, such result is not guaranteed. Moreover, even if

the Debtors were to prevail in the litigation (e.g., obtain a favorable ruling on allocation of value

to the Debtors’ hospital operations in the Adversary Proceeding), there is significant risk that the

Debtors will not have sufficient liquidity to pursue such litigation to judgment, or that doing so

will otherwise jeopardize the Debtors’ sale process and drive prospective buyers and operators

away before the Debtors obtain such favorable judgment. For example, a condition to closing the

sale of the Space Coast Hospitals (which are the Debtors’ most valuable hospitals) is that the

Debtors, Orlando Health, and MPT must reach an agreement on the Allocation Dispute. See

Docket No. 2109. Similarly, although the Debtors understand that the Creditors’ Committee’s

investigation may yield favorable results resulting in the commencement of litigation against MPT,

the Debtors believe that such litigation involves complex legal issues that are not guaranteed to


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result in a favorable outcome for the Debtors’ estates.        Moreover, each of the Adversary

Proceeding, the Master Lease Rejections, the Creditors’ Committee’s potential claims against

MPT, and other potential claims against MPT could entail significant discovery, extensive

briefing, and preparation for trial and other evidentiary hearings, and may take months or years to

complete. The Debtors estimate that it could cost the Debtors estates potentially tens of millions

of dollars in litigation expenses if these issues were fully litigated to judgment, with no guarantee

of success.

               37.     In addition, absent entry into and consummation of the Global Settlement

Agreement, the Debtors would be obligated to continue funding operating expenses at the

Specified MLI Hospitals. However, the Debtors do not have the liquidity to continue funding the

operations of such hospitals (or the funding to complete the sale process, which has been

significantly delayed). Therefore, failure to reach a settlement with MPT could result in adverse

consequences for the Debtors’ estates, including potential further hospital closures and substantial

closure costs. Accordingly, the certainty of outcome realized by entry into and consummation of

the Global Settlement provides significant benefits to the Debtors and their estates.

               38.     Second, the Global Settlement is the product of hard fought negotiations

between the Debtors, MPT, the Lenders (in particular the FILO Secured Parties), and the UCC,

each of which were represented by independent, sophisticated counsel. The Settlement Parties

have already expended a significant amount of time and resources investigating and litigating

disputes in these chapter 11 cases, including the Allocation Dispute, the Creditors’ Committee’s

and Transformation Committee’s investigations of claims against MPT, and the Master Lease

Rejections. The Settlement Parties have also exchanged a number of proposals and counter-




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proposals and engaged in extensive Mediation overseen by Judge Isgur through multiple sessions

over approximately 12 weeks, which ultimately led to the terms of the Global Settlement.

               39.    Third, the Global Settlement is reasonable and in the best interests of the

Debtors’ estates. The Global Settlement, if approved, affords the Debtors and their estates with

numerous benefits, including: (i) providing the Debtors’ estates with a guaranteed $395 million in

proceeds from the sale of the Space Coast Hospitals to Orlando Health, (ii) securing ongoing

funding for the operation and transition of the Specified MLI Hospitals to MPT or its Designated

Operator(s), (iii) facilitating the transition of the Specified MLI Hospitals to new operators,

(iv) avoiding the incurrence of ongoing operating losses associated with the Specified MLI

Hospitals, (v) resolving protracted, expensive, and uncertain litigation with MPT, and (vi) the

waiver and release of all of MPT’s claims against the Debtors’ estates (which total up to

approximately $7.5 billion).

               40.    The Global Settlement represents a major milestone in the Debtors’ chapter

11 cases, and lays the groundwork for the Debtors to propose and negotiate a value maximizing

chapter 11 plan.

               41.    Most importantly, the Global Settlement provides an opportunity for nearly

all of the MLI Hospitals (including the Ohio hospitals, which were on the verge of closing) to

remain open and continue to deliver high-quality patient care in the communities in which they

are located and preserve over 10,000 jobs.

               42.    Accordingly, the Global Settlement should be approved.

       B.      Approval of Interim Management Procedures is in the Best Interests of the
               Debtors’ Estates and Should Be Approved

               43.    The appointment of Interim Managers pursuant to the interim management

procedures set forth in the Interim Proposed Order (the “Interim Management Procedures”) is

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in the best interests of the Debtors, their estates, and their creditors and should be approved by the

Court.

               44.     First, appointment of Interim Managers is a condition to the overall Global

Settlement, which, as described above, provides immense economic benefits to the Debtors and

their estates. For example, absent the Debtors’ agreement to appoint Interim Managers, such

Interim Managers would be unwilling to fund the operating expenses at the Specified MLI

Hospitals until they are transferred or conveyed to Designated Operators. As described above, the

Debtors do not have the liquidity to continue funding the operations of such hospitals, and only

had approximately $21 million of cash on hand as of the week ending September 6, 2024. In

connection with the Global Settlement, the Interim Managers will agree to fund the Specified MLI

Hospital operations in accordance with the Settlement Term Sheet. Furthermore, to the extent the

Interim Managers do not fund such amounts in the first instance, MPT has agreed to pay accrued

payroll as of September 11, 2024 (approximately $27 million) and fund an account for hospital-

level expenses with $5 million. Accordingly, absent the Debtors’ agreement to appoint Interim

Managers until they are transferred or conveyed to Designated Operators, the Debtors’ could be

forced to consider potential further hospital closures to the detriment of the Debtors, their estates,

their creditors, and the employees, patients, and communities served by the hospitals.

               45.     Second, each Interim Manager will agree to be bound by the Interim

Management Procedures. The Interim Management Procedures will require that each Interim

Manager agree to comply with the terms of the applicable hospital license and applicable law, and

each Interim Manager will indemnify the Debtors for any breach of the Interim Management

Agreement, including by failing to comply with the hospital license and applicable law. Moreover,




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the Debtors, as the license holder, have the ability to intervene in such operations if an issue arises

relating to the health and welfare of the patients served by Specified MLI Hospital.

               46.     In addition, the Debtors request the Court order that each Interim Manager

shall have no successor liability as a consequence of operating the Specified MLI Hospitals.

Importantly, each Interim Manager will serve only in a temporary role until the applicable

Specified MLI Hospital is transferred or conveyed to a Designated Operator (which may be the

Interim Manager). Absent a court order providing that each Interim Manager shall have no

successor liability, it may be difficult—or impossible—to locate an Interim Manager who is

willing to serve in such capacity, and the Debtors would not receive the significant economic

benefits provided by the Global Settlement as described herein.

               47.     Accordingly, the Debtors submit that the appointment of Interim Managers

pursuant to the Interim Management Procedures is in the best interests of the Debtors, their estates,

and their creditors should be authorized by the Court. Moreover, because it is a condition of the

Global Settlement, which is in the best interests of the Debtors, their estates, and their creditors,

the Debtors submit that the Court should order that Interim Managers shall have no successor

liability.

        C.     Transfer or Conveyance of the Specified MLI Hospitals under the Global
               Settlement is a Sound Exercise of the Debtors’ Business Judgement and
               Should be Approved

               48.     As described herein and as set forth more fully in the Settlement Term

Sheet, the Debtors propose to transfer or convey the Specified MLI Hospitals to Designated

Operators on an “as is, where is” basis and free and clear of certain claims, interests, and

encumbrances. Each proposed transfer or conveyance will be subject to the notice procedures set

forth herein, which will provide parties in interest with notice and an opportunity to object to the

proposed transfer or conveyance and the terms thereof. Accordingly, the Debtors submit that the
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transfer or conveyance of the Specified MLI Hospitals to Designated Operators pursuant to the

Global Settlement is a sound exercise of the Debtors’ business judgment, is in the best interests of

the Debtors, their estates, and their creditors, and should be approved by the Court.

                     a. The Transfer or Conveyance of the Specified MLI Hospitals Should be
                        Approved as an Exercise of the Debtors Sound Business Judgment

               49.      Section 363(b)(1) of the Bankruptcy Code authorizes a debtor in possession

to “use, sell, or lease, other than in the ordinary course of business, property of the estate,” after

notice and a hearing. The Fifth Circuit recognizes that a debtor may use property of the estate

outside the ordinary course of business under this provision if there is a good business reason for

doing so. See, e.g., ASARCO, Inc. v. Elliott Mgmt. (In re ASARCO, L.L.C.), 650 F.3d 593, 601

(5th Cir. 2011) (“[F]or the debtor-in-possession or trustee to satisfy its fiduciary duty to the debtor,

creditors, and equity holders, there must be some articulated business justification for using,

selling, or leasing the property outside the ordinary course of business.”) (quoting In re Cont’l Air

Lines, Inc., 780 F.3d 1223, 1226 (5th Cir. 1986)); In re ASARCO LLC, 441 B.R. 813, 830 (Bankr.

S.D. Tex. 2010); GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Bldg.

Grp., Ltd.), 331 B.R. 251, 254 (Bankr. N.D. Tex. 2005).

               50.      Once the Debtors articulate a good business reason, “the business judgment

rule . . . ‘is a presumption that in making a business decision the directors of a corporation acted

on an informed basis, in good faith and in the honest belief that the action taken was in the best

interests of the company.’” In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill. 1995); see also

Integrated Res., 147 B.R. at 656; Comm. of Asbestos-Related Litigants and/or Creditors v. Johns-

Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“[A]

presumption of reasonableness attaches to a debtor’s management decisions.”).




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               51.     Importantly, the Global Settlement brings finality and stability to the

Debtors’ workforce and vendors that have been waiting for the results of the sale process. The

Debtors have a sound business justification for transferring or conveying the Specified MLI

Hospitals pursuant to the Global Settlement. First, the Debtors believe they are receiving material

value for the Debtors’ interests in the Specified MLI Hospitals because of the previously

enumerated benefits received by the Debtors’ estates pursuant to the Global Settlement. Many of

the Debtors’ hospitals operate at significant losses, placing a heavy burden on the Debtors’ estates.

Indeed, based on the Debtors’ sale process, even if the Debtors had funding to continue operating

the Specified MLI Hospitals and pursuing the sale process, the Debtors may only realize limited

proceeds from the sale of such hospitals given the dispute with MPT.

               52.     The Global Settlement maximizes the value of the Debtors’ interests in such

hospitals by (i) obtaining $395 million of net proceeds from the Space Coast Hospitals,

(ii) eliminating substantial costs of operating and transitioning the Specified MLI Hospitals, and

(iii) the release of all of MPT’s claims against the Debtors’ estates. Thus, the Debtors submit that

the significant economic benefits realized by the Debtors pursuant to the Global Settlement is the

highest and best use for the Debtors’ interests in the Specified MLI Hospitals and demonstrates

that entry into the Global Settlement reflects a prudent exercise of the Debtors’ business judgment.

               53.     Second, entry into the Global Settlement is substantially better than any

other alternative available to the Debtors. Absent the Global Settlement, the Debtors will continue

to be mired in litigation, further jeopardizing successful and expeditious sales of the Debtors’

hospitals while the Debtors’ continue to incur operating losses and litigation expenses for which

the Debtors’ otherwise have no financing.      At this time, the Debtors simply do not have any

alternative source of funding option available to operate and transition each of the Specified MLI


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Hospitals to new operators. Moreover, absent entry into the Global Settlement, the Debtors would

be forced to proceed with hospital closures to stop the immense cash burn, including hospitals in

Ohio. Entry into the Global Settlement allows for nearly all of the Specified ML1 Hospitals to

remain open and operational.

               54.      Accordingly, the Debtors submit that the transfer or conveyance of the

Specified MLI Hospitals pursuant to the Global Settlement is clearly the highest and best use for

such estate assets and is a sound exercise of the Debtors’ business judgment.

                     b. The Court Should Approve the Procedures for Approval of Transfer or
                        Conveyance of Specified MLI Hospitals to Designated Operators

               55.      The Debtors request approval of the following procedures to govern the

transfer or conveyance of the Specified MLI Hospitals to Designated Operators and submit that

such procedures are in the best interests of the Debtors, their estates, and their creditors:

               (a)      Upon MPT’s determination to transfer or convey a Specified MLI Hospital
                        to a Designated Operator pursuant to an MLI Hospital Sale and agreement
                        between the Debtors and such Designated Operator on the documentation
                        necessary to effectuate such transfer or conveyance, the Debtors shall file
                        with the Court and serve a notice on all interested parties (a “MLI Hospital
                        Sale Notice”) setting forth, among other things, (i) the identity of the
                        Designated Operator, (ii) a copy of the agreement transferring or conveying
                        the Specified MLI Hospital to the Designated Operator, and (iii) a proposed
                        form of order approving such transfer or conveyance to the Designated
                        Operator (a “MLI Hospital Sale Order”).

               (b)      Each MLI Hospital Sale Order shall provide, among other things, (i) that
                        the applicable Designated Operator is acquiring the applicable Specified
                        MLI Hospital free and clear of all liens and claims of the ABL Lenders and
                        FILO Lenders, but not liens and claims on account of purchase money
                        security interests and capital leases of equipment and other personal
                        property, (ii) that the applicable Designated Operator is purchasing the
                        applicable Specified MLI Hospital in good faith within the meaning of
                        section 363(m) of the Bankruptcy Code, (iii) the other findings of fact and
                        conclusions of law included in Annex 1 to the Proposed Interim Order.

               (c)      Parties objecting to a proposed MLI Hospital Sale must file and serve on
                        the Debtors and each of the other Settlement Parties a written objection
                        (an “Objection”) no later than five (5) days from the date the Debtors serve

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                        the MLI Hospital Sale Notice (the “Objection Deadline”). Each Objection
                        must state with specificity the legal and factual grounds for objection to the
                        proposed MLI Hospital Sale.

               (d)      If no Objection is filed and served by the Objection Deadline, the Debtors
                        may submit the proposed MLI Hospital Sale Order to the Court and the
                        Court may enter such order without a hearing.

               (e)      If an Objection is timely filed and not withdrawn or resolved
                        (an “Unresolved Objection”), the Debtors shall file a notice scheduling an
                        emergency hearing for the Court to consider the Unresolved Objection,
                        subject to the Court’s schedule.

               56.      The foregoing procedures are designed to provide adequate notice and due

process to parties in interest that may be affected by the proposed transfers or conveyances while

also balancing the need for expediency necessary to ensure each Specified MLI Hospital remains

operational and funded. Accordingly, the Debtors submit that the proposed procedures are in the

best interests of the Debtors, their estates, and their creditors and should be approved by the Court.

                     c. Adequate and Reasonable Notice of the Transfer or Conveyance of the
                        Specified MLI Hospitals are Provided

               57.      This Motion (i) informs interested parties of the deadlines for objecting to

the Global Settlement, and (ii) otherwise includes all information relevant to parties interest in, or

affected by, the Global Settlement. Notice of this Motion will be provided to any party entitled to

notice pursuant to Bankruptcy Rule 2002 and 6004 and any other party entitled to notice pursuant

to Bankruptcy Local Rule 9013-1(d), and cause to be published on the website of the Debtors’

claims and noticing agent at https://restructuring.ra.kroll.com/Steward. Accordingly, reasonable

and adequate notice of the transfer or conveyance of the Specified MLI Hospitals and the Global

Settlement will be provided to all interested parties.

               58.      Moreover, adequate notice was provided to parties in interest pursuant to

the Notice of Sale, Global Bidding Procedures, Auction, and Sale Hearing (Docket No. 689),

which provided notice of the potential sale of each of the Specified MLI Hospitals pursuant to the

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Global Bidding Procedures. Because the transfer or conveyance of the Specified MLI Hospitals

is consistent with the sales process established by the Global Bidding Procedures, the Debtors

submit that the notice provided pursuant to and as contemplated by this Motion, in conjunction

with the notice provided pursuant to the sale notice, provides adequate notice of the transfer or

conveyance of the Specified MLI Hospitals.

                     d. The Transfer or Conveyance of the Specified MLI Hospitals Should be
                        Approved “Free and Clear” Under Section 363(f) of the Bankruptcy Code

               59.      Section 363(f) of the Bankruptcy Code permits the Debtors to sell assets

free and clear of all liens, claims, interests, charges, and encumbrances (with any such liens,

claims, interests, charges, and encumbrances attaching to the net proceeds of the sale with the same

rights and priorities therein as in the sold assets). As section 363(f) is stated in the disjunctive,

when proceeding pursuant to section 363(f), it is only necessary to meet one of the five conditions

of section 363(f). In re Nature Leisure Times, LLC, No. 06-41357, 2007 WL 4554276, at *3

(Bankr. E.D. Tex. Dec. 19, 2007) (“The language of § 363(f) is in the disjunctive such that a sale

free and clear of an interest can be approved if any one of the aforementioned conditions contained

in § 363(f) are satisfied.”). The Debtors believe that they will be able to demonstrate at the hearing

that they have satisfied one or more of these conditions.

               60.      Additionally, the Court also may authorize the sale of a debtor’s assets free

and clear of any liens pursuant to section 105 of the Bankruptcy Code, even if section 363(f) did

not apply. See In re Ditech Holding Corp., 606 B.R. 544, 591 (Bankr. S.D.N.Y. 2019) (“[P]lan

sales can be free and clear of claims without invoking section 363(f).”); In re Trans World Airlines,

Inc., No. 01–0056 (PJW), 2001 WL 1820325, at *3 (Bankr. D. Del. Mar. 27, 2001) (“[B]ankruptcy

courts have long had the authority to authorize the sale of estate assets free and clear even in the

absence of § 363(f).”); see also Volvo White Truck Corp. v. Chambersburg Beverage, Inc. (In re

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White Motor Credit Corp.), 75 B.R. 944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct

such sales [free and clear of liens] is within the court’s equitable powers when necessary to carry

out the provisions of Title 11.”).

               61.      The Debtors believe that one or more of the tests of section 363(f) will be

satisfied with respect to the transfer or conveyance of the Specified MLI Hospitals. For example,

the Debtors believe that the Lenders will ultimately consent to the transfer or conveyance of the

Specified MLI Hospitals free and clear under section 363(f)(2).          Furthermore, the Debtors

understand that the Lenders will consent to the Debtors’ accounts receivable for services rendered

after the Funding Commencement Time being held in trust for the Designated Operators. In the

event such creditors do not consent, a transfer or conveyance free and clear may proceed pursuant

to section 363(f)(5) of the Bankruptcy Code because such creditors may be paid from the proceeds

of the transaction and the Debtors will establish at the hearing that such creditors can be compelled

to accept a monetary satisfaction of its claims.

                     e. The Global Settlement Has Been Proposed in Good Faith Without
                        Collusion, and MPT and its Designated Operators Will Be a “Good Faith
                        Buyer”

               62.      Pursuant to section 363(m) of the Bankruptcy Code, a good-faith purchaser

is one who purchases assets for value, in good faith, and without notice of adverse claims.

O’Dwyer v. O’Dwyer (In re O’Dwyer), 611 F. App’x 195, 200 (5th Cir. 2015); Mark Bell Furniture

Warehouse, Inc. v. D.M. Reid Assocs., Ltd. (In re Mark Bell Furniture Warehouse), Inc., 992 F.2d

7, 9 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985); see also In re

Abbotts Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir. 1986) (to constitute lack of good faith, a

party’s conduct in connection with the sale must usually amount to fraud, collusion between the

buyer and other bidders or the trustee, or an attempt to take grossly unfair advantage of other

bidders).
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                  63.      In other words, a party would have to show fraud or collusion between the

transferee and the debtor-in-possession or trustee or other bidders in order to demonstrate a lack

of good faith. An appropriate characterization of good faith in a bankruptcy sale is a lack of “fraud,

collusion between the purchaser and other bidders or the trustee, or an attempt to take grossly

unfair advantage of other bidders.” TMT Procurement Corp. v. Vantage Drilling Co. (In re TMT

Procurement Corp.), 764 F.3d 512, 521 (5th Cir. 2014) (quoting Bleaufontaine, Inc. v. Roland

International (In re Bleaufontaine, Inc.), 634 F.2d 1383, 1388 n.7 (5th Cir. 1981)).

                  64.      MPT and its Designated Operators should be considered “good faith”

purchasers within the meaning of section 363(m) of the Bankruptcy Code, as terms of the Global

Settlement were negotiated at arms-length and in good faith without any collusion or fraud. 21 The

consideration provided by MPT for the ability to designate the Designated Operators for the

Specified MLI Hospitals reflects the fair market value of such assets.                        Accordingly, each

Designated Operator will be a good-faith purchaser of the Specified MLI Hospitals under the

Global Settlement and is entitled to the full protections of the Bankruptcy Code.

         D.       Abandonment of the Closed Hospitals and Behavioral Facility (and, only if
                  Necessary, the Other Specified MLI Hospitals) Should Be Approved

                  65.      The Debtors seek authority to abandon their interests in the Closed

Hospitals 22 and Behavioral Facility to MPT on an “as is, where is” basis, free and clear of certain

liens, claims, and encumbrances, and without any further liability to the Debtors. Moreover, if the


21
     Section 363(m) provides that, “[t]he reversal or modification on appeal of an authorization under subsection (b)
     or (c) of this section of a sale or lease or property does not affect the validity of a sale or lease under such
     authorization to an entity that purchased or leased such property in good faith, whether or not such entity knew
     of the pendency of the appeal, unless such authorization and such sale or lease were stayed pending appeal.” 11
     U.S.C. § 363(m).
22
     “Closed Hospitals” means Coral Gables Hospital North, Northside Regional Medical Center, Wadley Regional
     Medical Center New Development, Texas Vista Medical Center, St. Luke’s Medical Center, and Ogden
     Underdeveloped Land.

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transfer or conveyance of the Specified MLI Hospitals is not effectuated, the Debtors request

authority to abandon the other Specified MLI Hospitals free and clear of certain liens, claims, and

encumbrances. In each instance, MPT or a Designated Operator, as applicable, shall be deemed

to accept title and ownership of such abandoned hospitals at the times set forth in the Settlement

Term Sheet.

                66.    Section 554(a) of the Bankruptcy Code authorizes a debtor in possession,

after notice and a hearing, to “abandon any property of the estate that is burdensome to the estate

or that is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). The right to

abandon property is virtually unfettered, unless (a) abandonment of the property will contravene

laws designed to protect public health and safety or (b) the property poses an imminent threat to

the public’s welfare. See Midlantic Nat. Bank v. New Jersey Dep’t of Env’t Prot., (In re Midlantic

Nat’l Bank), 474 U.S. 494, 501 (1986). Neither of these limitations is relevant under the instant

facts.

                67.    The Debtors have determined that the proposed abandonment of the Closed

Hospitals, Behavioral Facility, and, potentially, certain of the Specified MLI Hospitals (including

the Behavioral Facility) to MPT is necessary to the extent the transfer or conveyance of such

hospitals is not effectuated because such abandonment will allow the Debtors to (i) stop the accrual

of administrative expenses associated with retaining such hospitals and (ii) given the limited

resources of the Debtors’ estates, ensure continuity of patient care and the ability to transition the

hospitals to an alternative operator. Further, it is the Debtors’ understanding that the proposed

abandonment of such hospitals will not conflict with laws designed to protect public health and

safety. The proposed abandonment will also not pose an imminent threat to public welfare

because, pursuant to the terms of the Global Settlement, the abandonment is proposed primarily


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for the Closed Hospitals and Behavioral Facility, and with respect to an abandonment of any other

Specified MLI Hospital, abandonment will be done in connection with MPT contracting with a

new operator, and MPT will be deemed to accept title and ownership of the abandoned Specified

MLI Hospitals immediately upon abandonment.

                68.     For the foregoing reasons, the ability to abandon is necessary, appropriate,

and in the best interests of the Debtors, their estates, and all other parties in interest in these chapter

11 cases and should be authorized by the Court.

                                        Reservation of Rights
                69.     Nothing contained herein is intended to be or shall be deemed as (i) an

implication or admission as to the validity of any claim against the Debtors, (ii) a waiver or

limitation of the Debtors’ or any party in interest’s rights to dispute the amount of, basis for, or

validity of any claim, (iii) a waiver of the Debtors’ or any other party in interest’s rights under the

Bankruptcy Code or any other applicable nonbankruptcy law, (iv) a waiver of the obligation of

any party in interest to file a proof of claim, (v) an agreement or obligation to pay any claims, (vi) a

waiver of any claims or causes of action which may exist against any creditor or interest holder,

(vii) an admission as to the validity of any liens satisfied pursuant to this Motion, or (viii) an

approval, assumption, adoption, or rejection of any agreement, contract, lease, program, or policy

under section 365 of the Bankruptcy Code. Likewise, if the Court grants the relief sought herein,

any payment made pursuant to the Court’s order is not intended to be and should not be construed

as an admission to the validity of any claim or a waiver of the Debtors’ or any other party in

interest’s rights to dispute such claim subsequently.

                70.     To the extent an agreement cannot be reached as to the documentation of

the Global Settlement, or such Global Settlement is not effectuated pursuant to its terms, nothing

herein shall be deemed an admission as to any of the matters asserted herein, or a waiver of any
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claim, right or defense of any Settlement Party, including with respect to any Challenge that could

be asserted by the Creditors’ Committee.

                            Emergency Consideration is Requested
               71.    The Debtors seek relief on an emergency basis. The Debtors require

immediate access to funding for its hospital operations, and pursuant to the Global Settlement,

MPT will assume all operating liabilities effective as of September 11, 2024 at 12:01 a.m. (Eastern

Time). The Debtors seek to enter into and consummate the Global Settlement as soon as possible

to maximize benefits for the Debtors and their estates. The Debtors believe that emergency

consideration of this Motion is necessary and appropriate.

                                              Notice

               72.    Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).




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               WHEREFORE the Debtors respectfully request entry of the Proposed Interim

Order granting the relief requested herein and such other and further relief as the Court may deem

just and appropriate.

Dated: September 10, 2024
       Houston, Texas


    /s/ Clifford W. Carlson
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                                    Certificate of Service

        I hereby certify that on September 10, 2024, a true and correct copy of the foregoing
document was served by the Electronic Case Filing System for the United States Bankruptcy Court
for the Southern District of Texas.



                                                     /s/ Clifford W. Carlson
                                                    Clifford W. Carlson
